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                       UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION

USA                                             §
                                                §
vs.                                             §      Case No.: SA:19-CR-00797(1)-OLG
                                                §
(1) Jose Angel Hernandez                        §
  Defendant


              ORDER SETTING REARRAIGNMENT AND PLEA
           IT IS HEREBY ORDERED that the above entitled and numbered case is set for
REARRAIGNMENT AND PLEA - IN PERSON, in the Courtroom A, on the 2nd Floor of
the United States Federal Courthouse, 262 W. Nueva Street, San Antonio, TX, on Tuesday,
March 08, 2022 at 2:30 PM.

            IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services
Office and the U.S. Probation Office. Further, counsel for the defendant shall notify the
defendant of this setting. If the defendant is on bond, he shall be present.

           Counsel for Defendant is directed to appear at the hearing with a copy of the plea
agreement documents(s), if any, as well as the operative charging document so that these
documents are readily available for the defendant to read, review, and consult during the hearing.


              IT IS SO ORDERED on this 28th day of February, 2022.




                                                ______________________________
                                                ELIZABETH S. ("BETSY") CHESTNEY
                                                UNITED STATES MAGISTRATE JUDGE
